            Case 1:19-cv-03479-JEB Document 35 Filed 07/17/20 Page 1 of 3

                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


JOE HAND PROMOTIONS, INC.,

               Plaintiff,

       v.                                           Civil Action No. 1:19-CV-03479 (JEB)

MOLLY MALONE’S LLC, et al.

               Defendants.


            EMERGENCY MOTION TO EXTEND DEFENDANT
        WILLIAM NIMMO’S TIME TO RESPOND TO THE COMPLAINT

       Defendant William Nimmo, by and through undersigned counsel, respectfully re-

quests this Honorable Court extend the date for him to respond to Plaintiff Joe Hand Pro-

motions, Inc.’s complaint by twenty days, from July 30, 2020 to August 19, 2020. Because a

regular briefing schedule will run past the current due date, Mr. Nimmo respectfully requests

the Court order expedited briefing on this Motion.

       In support of his Motion, Mr. Nimmo states the following:

       1.      Mr. Nimmo was served with the Complaint on July 9, 2020. He forwarded it

promptly to undersigned counsel.


       2.      Counsel needs additional time for the following reasons. Mr. Oster’s wife is

currently hospitalized in the Baltimore area and is not expected to be discharged for at least

another two weeks. Mr. Oster also has a brief due on Monday, July 21st and an appellate

brief due on Wednesday, July 29, 2020.


       3.      Mr. Gremminger is primarily a tax attorney and has numerous IRS submis-

sions due for clients on or before July 30, 2020.
            Case 1:19-cv-03479-JEB Document 35 Filed 07/17/20 Page 2 of 3

       4.       Mr. Gremminger also represents three other named Defendants: Greg Cotter,

Michael Cheung, and Edward Cheung. To the knowledge of counsel, these defendants have

not yet been served. Together with Mr. Nimmo, these three defendants share the same legal

and factual defenses to the Complaint. If they are served in a timely manner, judicial econo-

my favors all four defendants joining in one motion to dismiss.


       5.       Pursuant to LCvR 7(m), undersigned counsel contacted counsel for the Plain-

tiff and requested Plaintiff ’s consent to the within Motion. Plaintiff opposes this Motion.


       6.       Counsel needs the additional time to discharge their respective duties to their

clients and to this Court.


             WHEREFORE, Mr. Nimmo respectfully requests his time to respond to the

Complaint be extended to and including August 19, 2020, and that the Court order expedit-

ed briefing on this matter. A proposed form of order is attached hereto.

July 17, 2020                                       Respectfully submitted,

                                                    /s/ Steven Gremminger
                                                    Steven Gremminger (DC 353821)
                                                    Steven M. Oster (DC 376030)
                                                    GREMMINGER LAW FIRM
                                                    5335 Wisconsin Ave., N.W., Ste. 440
                                                    Washington, D.C. 20015
                                                    (202) 885-5526
                                                    steve@gremmingerlawfirm.com
                                                    steveno@gremmingerlawfirm.com

                                                    Attorneys for Defendant William Nimmo




                                              -2-
         Case 1:19-cv-03479-JEB Document 35 Filed 07/17/20 Page 3 of 3

                            CERTIFICATE OF SERVICE

       I certify that I filed the attached Emergency Motion for Extension of Time using the

Court’s CM/ECF system and thereby served counsel of record in this action.

July 17, 2020                                     /s/ Steven Gremminger
                                                  Steven Gremminter




                                            -3-
